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                  IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS
                           BATESVILLE DIVISION

RICKY LEE YANDELL                                                  PLAINTIFF

V.                         NO. 1:19-CV-00080-BD

ANDREW SAUL, Commissioner
Social Security Administration                                   DEFENDANT

                                    JUDGMENT

      Consistent with the Order that was entered on this day, it is CONSIDERED,

ORDERED, and ADJUDGED that this case is DISMISSED with prejudice. Judgment is

entered in favor of the Commissioner.

      DATED this 29th day of May, 2020.


                                        ___________________________________
                                        UNITED STATES MAGISTRATE JUDGE
